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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                         Chapter 11

    APPHARVEST PRODUCTS, LLC, et al.1                              Case No. 23-90745 (DRJ)

                             Debtors.                              (Jointly Administered)
                                                                   Re: Docket No. 530

                     NOTICE OF VIRTUAL STATUS CONFERENCE
                REGARDING STATUS OF THE SALE OF SOMERSET ASSETS

       A status conference regarding the status of the sale of the Somerset Assets pursuant to the
Order (I) Approving Memorandum of Agreement Regarding Compliance with Sale Order and (II)
Granting Related Relief [Docket No. 530] has been scheduled for December 7, 2023, at 2:30 p.m.
(prevailing Central Time) (the “Status Conference”) before Judge Jones of the United States
Bankruptcy Court, Houston Division (the “Court”). You may participate in the Status
Conference only remotely by an audio and video connection.

        Remote Participation Instructions. If you wish to attend the Status Conference remotely,
audio communication will be by the use of the Court’s dial-in facility. You may access the facility
at (832) 917-1510. Once connected, you will be asked to enter the conference room number. Judge
Jones’ conference room number is 205691. Video communication will be by use of the
GoToMeeting platform. Connect via the free GoToMeeting application or click the link on Judge
Jones’ homepage. The meeting code is “JudgeJones.” Click the settings icon in the upper right
corner and enter your name under the personal information setting.

        Status Conference Appearances. Status Conference appearances must be made
electronically in advance of the Status Conference. To make your appearance, click the “Electronic
Appearance” link on Judge Jones homepage. Select the case name, complete the required fields,
and click “Submit” to complete your appearance.




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 The Debtors in this chapter 11 case, together with the last four digits of the Debtors’ federal tax identification number,
are: AppHarvest Operations, Inc. (5929), AppHarvest, Inc. (2965), AppHarvest Farms, LLC (7067), AppHarvest
Morehead Farm, LLC (1527), AppHarvest Richmond Farm, LLC (0632), AppHarvest Berea Farm, LLC (3140),
AppHarvest Pulaski Farm, LLC (2052), AppHarvest Development, LLC (None), Rowan County Development, LLC
(0700), AppHarvest Technology, Inc. (4868), AppHarvest Products, LLC (5929), and AppHarvest Foundation, LLC
(None). The Debtor’s service address is 500 Appalachian Way, Morehead, KY 40351.
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Dated: October 4, 2023
Houston, Texas

/s/ Vienna F. Anaya
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                                             Co-Counsel to the Debtors and Debtors in
                                             Possession




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                                     Certificate of Service

        I certify that on October 4, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                               /s/ Vienna F. Anaya
                                                               Vienna F. Anaya
